         Case 1:16-cv-00157-RMC Document 75 Filed 09/07/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                       )
UNITEDHEALTHCARE INSURANCE )
COMPANY, et al.,                       )
                                       )
              Plaintiffs,              )
                                       )
       v.                              )   Civil Case No. 16-157 (RMC)
                                       )
ALEX M. AZAR, II,                      )
Secretary of the Department of Health  )
and Human Services, et al.,            )
                                       )
              Defendants.              )
_____________________________________)

                                            ORDER

               For the reasons articulated in the Opinion issued contemporaneously with this

Order, it is hereby

               ORDERED that Plaintiffs’ Motion for Summary Judgment, Dkt. 47, is

GRANTED; and it is

               FURTHER ORDERED that Defendants’ Cross-Motion for Summary Judgment,

Dkt. 57, is DENIED; and it is

               FURTHER ORDERED that the 2014 Overpayment Rule, 79 Fed. Reg. 29,844,

29,918-25 (May 23, 2014), is VACATED.

               This is a final appealable Order. See Fed. R. App. P. 4. This case is closed.




Date: September 7, 2018
                                                     ROSEMARY M. COLLYER
                                                     United States District Court



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